 Case 18-03036               Doc 103        Filed 11/21/18 Entered 11/21/18 09:24:43      Desc Main
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      FILED & JUDGMENT ENTERED
                Steven T. Salata




           November 21 2018


       Clerk, U.S. Bankruptcy Court
      Western District of North Carolina
                                                                          _____________________________
                                                                                   J. Craig Whitley
                                                                            United States Bankruptcy Judge




                           UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

In Re:                                               )
                                                     )
Ace Motor Acceptance Corporation,                    )     Chapter 11
                                                     )     Case No. 18-30426
                               Debtor.               )
                                                     )
                                                     )
                                                     )
                                                     )
Ace Motor Acceptance Corporation,                    )
                                                     )
                               Plaintiff.            )
                                                     )     Adversary Proceeding
v.                                                   )     No. 18-03036
                                                     )
McCoy Motors, LLC;                                   )
McCoy Motors, LLC, d/b/a Ride Fast;                  )
Robert McCoy, Jr.; and Misty McCoy                   )
                                                     )
                               Defendants.           )
                                                     )

     ORDER GRANTING IN PART PLAINTIFF’S MOTION TO SHORTEN NOTICE

         THIS MATTER is before the Court on the Plaintiff’s Motion for Order Shortening Notice

of Hearing on I) Plaintiff’s Emergency Motion for Order Granting Leave to File Second Amended

Complaint and Add Robert McCoy III and Flash Autos, LLC; II) Emergency Motion for

Appointment of Receiver as to McCoy Motors, LLC and Flash Autos, LLC; III) Alternative
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Emergency Motion for Preliminary Injunction as to McCoy Motors, LLC and Flash Auto, LLC

(the “Motion”). Given that the Motion forecasts a lengthy evidentiary hearing, the Motion is

GRANTED to the extent that the Court will hold a hearing on the underlying motions on

December 18, 2018. Accordingly, the Plaintiff is directed to notice a hearing at 9:30 A.M. on

DECEMBER 18, 2018.


         SO ORDERED.

This Order has been signed                                        United States Bankruptcy Court
electronically. The Judge’s
signature and Court’s seal
appear at the top of the Order.




                                                2
